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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

SUZANNE DAKESSIAN,
CASE NO.: l:l7-CV-01151-GMS
Plaintiff,
JURY TRIAL DEMANDED
v.

WILLIAM SCHELL, IV, DOMINICK
DAFFNER, WORLD CHAMPIONSHIP
PUNKIN’ CHUNKIN’ INC., PUNKIN
CHUNKIN ASSOCIATION, FRANK
PEYTON, FRANK SHADE, TERRY
BREWSTER, DAVID QUIGLEY,
MCCULLEY, EASTHAM & ASSOCIATES,
INC., WHEATLEY FARMS, INC., E. DALE
WHEATLEY, JEFFREY T. WHEATLEY,
DISCOVERY COMMUNICATIONS, INC.,
STATE OF DELAWARE; and the STATE OF
DELAWARE (DEPARTMENT OF NATURAL
RESOURCES AND ENVIRONMENTAL
CONTROL);

\/VV\/\/\/\/VVVVVVVVVVVVVVV

Defendants.

AMERICAN ZURICH INSURANCE COMPANY’S MOTION TO INTERVENE

1. Plaintiff, Suzanne Dal<essian, was injured on or about November 6, 2016, While in the course
and scope of her employment With Cast and Crew Entertaimnent Services, LLC.

2. At all times relevant, Cast and CreW Entertainment Services, LLC Was covered by a Worker’s
compensation insurance policy issued by American Zurich Insurance Company.

3. Pursuant to the policy, as of November 14, 2017, American Zurich Insurance Company has
paid to Plaintiff or on behalf of Plaintiff $ 171 ,5 16.65. American Zurich lnsurance Company
continues to make payments to Plaintiff or on her behalf

4. On August 16, 2017, Plaintiff filed the above captioned personal injury action.

5. According to 19 M§Z%S and the case law, “[a]n employer or its insurer Who has paid or

become liable for Workers’ compensation benefits becomes subrogated, however, to the right

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of action of the party liable for the injury and is entitled to reimbursement for the amount it
paid to the employee.” Duplzily v. Delaware Electric Coop., 662 A.2d 821, 834 (Del. 1995)
(citing Travelers lns. Co. V. E.I. DuPont De Nemours & Co., 9 A.2d 88 (Del. 1939).).
“Under 19 M§2363, a Workers’ compensation insurance carrier is permitted to join in the
employee’s personal injury action against a third party to assert its lien.” ]d. The law
permits the employer or its insurer to recoup its compensation payments Id. (citing Moo)'e v.
General Foods, 459 A.2d 126 (Del. 1983).).

6. In this matter, American Zuri ch Insurance Company has paid benefits for Plaintiff pursuant
to the Worker's’ compensation policy covering Plaintiff s injury While in the course and scope
of her employment

7. Although the Worker’s compensation lien is recoverable by Plaintiff, it is important that
movant intervene as an additional plaintiff to protect the lien, attend discovery and actively
participate in any settlement negotiations

THEREFORE, based on the forgoing, American Zurich Insurance Company respectfully
requests this court grant its Motion to lntervene.
WEBER GALLAGHER SIMPSON

STAPLETON FIRES & NEWBY LLP

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Company

DATED: December 4, 2017

